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SOUTHERN DlSTRlCT OF GEORGlA
AUGUSTA DIVlSlON

UNITED STATES OF AMERlCA

NO. 1117-CR-0034
FILED IN CAMERA AND
UNDER SEAL WI'I`H THE CISO

V.

REALITY LEIGH WINNER

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DEFENDANT’S FIRST CIPA § 5 NOTlCE
NOW INTO COURT, through undersigned eounsel, comes Defendant Reality Leigh
Winner (“Ms. Winrier" or the “Defendant"), pursuant to CIPA § 5 and this Court’s Scheduling
Orders, who hereby files her first notification of the classified information that she reasonably
expects to disclose or cause to be disclosed in connection with a pretrial proceeding and/or trial

in this prosecution
As an initial matter, CIPA § 5 provides in relevant part:

If a defendant reasonably expects to disclose or to cause the disclosure of
classified information in any manner in connection with any trial or
pretrial proceeding involving the criminal prosecution of such defendant,
the defendant shall, within the time specified by the court or, where no
time is specified, within thirty days prior to trial, notify the attorney for the
United States and the court in writing. Such notice shall include a brief
description of the classified information Whenever a defendant learns of
additional classified information he reasonably expects to disclose at any
such proceeding, he shall notify the attorney for the United States and the
court in writing as soon as possible thereaRer and shall include a brief
description of the classified information

18 U.S.C. app. 3 § S(a) (2011). According to the Ninth Circuit, “a brief description of the
classified information,“ as prescribed in the text of the statute, is all that is required United
Sfates v. M)`ller, 874 F.2d 1255, 1276 (9th Cir. 1989) (0verruling district eourt’s holding that the

det`endant’s notice must include justifications of relevance).

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This notice encompasses all classified information known to Ms, Winner that she
reasonably expects, at this time and based upon all classified discovery produced by the
Govemment through November l, 2017, to disclose or cause to be disclosed at trial or at a
pretrial proceeding Ms. Winner anticipates filing additional ClPA § 5 notices that will address
classified information that has not been produced by the Govemment in response to Ms.
Winner’s discovery requests as of Novcmber 1, 2017. Ms. Winner reserves her right to
supplement or amend this notice as may become necessary as she prepares for trial.

Morcover, the list set forth below is incomplete because the Govemment has not
provided Ms. Winner with any witness list, exhibit list, or other materials to which Ms. Winner is
entitled to prior to trial. Ms. Winner does not know how the Govemment intends to present its
case, who it intends to call as witnesses, nor what testimony those witnesses will provide Ms.
Winner, therefore, does not know all the classified information she will need to cross-examine
these witnesses, or which classified documents she will need to rebut the Govemment’s proof or
use to impeach witnesses, At this stage, it is also premature for Ms. Winner to know who she
will call as witnesses in her case-in~chief, if any, or to know whether she will testify in her own
defense

ln addition, certain documents produced in classified discovery (i.e., those documents
with the Bates label “DOJ-CLASS”) are marked “U" for unclassified Ms. Winner objects to
having to notice or identify any such document or information through the CIPA process.- The
Govemment’s failure to declassify such documents places a burden on Ms. Winner that she does
not have under the law, as CIPA requires notification of only classified information The
Defendant, therefore, does not notice unclassified documents, and she reserves her right to do so

if the Court subsequently requires the disclosure of the unclassified documents. To the extent the

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Court will require the Def`endant to notice any documents produced in classified discovery
marked “U,” however, then the Defendant hereby notices all such documentsl

Finally, Ms. Winner objects to noticing any documents that are marked classified solely
because the document refers to Ms. Winner, and not for any reason related to national security.
Any such documents should have been declassified by the Govemment Ms. Winner nonetheless
notices such documean out of an abundance of caution.

Subject to these objections, and pursuant to CIPA § 5, Ms. Winner notifies the United
States and the Court that she reasonably expects to disclose or to cause the disclosure of

classified information at a pre-trial proceeding or at trial as follows:

 

 

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'ITF.M
DOCUMENT2 CLASSIFIED BATES No.

 

DOJ-CLASS-OOOOl
through
DOJ-CLASS-OOO l 0

DOJ-CLASS-OOOI l

 

 

l 'l`he following documents arc, in their enlirety, marked as “unclassiflcd": DOJ-CLASS-Ol)4ll, DOJ-CLASS-
00412, DOI~CLASS-OO413, DOJ-CLASS-004l4 through DOJ-CLASS-004l7, DOJ-CLASS-OO¢$ZS through DOJ-
CLASS-00429, DOJ-CLASS~OO~430, DO.l-CLASS-OO434 through DOJ-CLASS-OO441, DOJ-CLASS-OO446, DOJ~
CLASS-OO74l, DOJ-CLASS-00742, DOJ-CLASS-OU743, DOJ-CLASS~OO744, DOJ-CLASS-OO74$ through DO]-
CLASS-OO746, DOJ-CLASS-00747 through DO]-CLASS-UO749, DOJ-CLASS-OO752 through DO.l-CLASS-
00753, DO]-CLASS-OO755, DO_l-CLASS-UO756 through DOJ-CLASS~OU757, DO]-CLASS-OO7S9 through DOJ-
CLASS-00761, DO.l-CLASS-00762 through DOJ-CLASS-OO763, DOJ-CLASS-00764, DOJ-CLASS-OO765
through DO.l-CLASS~00766, DOJ-CLASS-OO767, DOJ-CLASS~OO'/GS, DOJ-CLASS-U()TM through DO.l-CLASS-
00775, and DOJ-CLASS-OO??E) through DOJ~CLASS-UOT/B.

2 ln identifying a document Ms, Winner notices the entire content of the document

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BRIEF DESCRIP'I'ION OF CLASSIFIED INF()RMAT|ON OR

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August l6, 2017 Memorandum by Larry

rlwinnc url history

AFrlLtArEr)
CLAssmED BATES No.
n/a

n/a

n/a

DOJ-CLASS-OOOlZ
through

DOJ‘CLASS-OGOZS
DOJ-CLASS-00029
through

DOJ-CLASS-OOGSS
DOJ-CLASS-00039

DOJ-CLASS-OOOAZ
DOJ-CLASS-00043
DOJ-CLASS-00044
through DOJ-CLASS-
00109

 

DOI-CLASS-()Ol lO
through
DOJ-CLASS-O()l l l
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DOJ-CLASS-OOOl 12
through
DOJ-CLASS-000184

 

 

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Docuivutr~:'rz - CLAssnuED BA'rns No.
Search History for Reality Winner June 6, 2016 through DOJ-CLASS-OOI 85
15. May 24, 2017 through
DOJ-CLASS-OOI 91
16. DOJ-CLASS-00192
17 DOJ-CLASS-00193
DOJ-CLASS-00194
18.
May 9, 2017 activity for RLWlNNE-l DOJ~CLASS-00195
19. through DOJ-CLASS-
00201
November 9, 2016 activity for RLWINE-l DOJ-CLASS-OOZOZ
20. through DOJ-CLASS-
00205
September 21, 2016 activity for RLWINE-l DOJ-CLASS-00206
2l. through DOJ-CLASS-
00217
September 22, 2016 activity for RLWINE-l DOJ-CLASS-OOZIB
22. through DOJ-CLASS-
00229
DOJ-CLASS-00230
23. through DOJ-CLASS~
00240
24. Winner Print Lo DOJ-CLASS-00250
DOJ-CLASS-0025 l
25, through DOJ-CLASS-
00407
26. RLwinne-l May 9, 2017 pn'm_ ooJ-CLASS-00408
Reality Winner’s Oh Yeah! Yoga schedule DOJ-CLASS-00409
27. through DOJ-CLASS-
00410
United States Departrnent of Justice Federal Bureau of DOJ-CLASS-00449
28. Investigation Verbatim 'l`ranscription through DOJ-CLASS-
005 28
29. June l, 2017 email from Paul Hi ett DOJ-CLASS-00043.l
DOJ-CLASS-00537
through DOJ-CLASS-
30. 00540

 

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DOJ-CLASS-0054l
through DOJ-CLASS-
00542

   
  

 

 

Reality Winner`s Lync Chats DOJ-CLASS'00543
through DOJ-CLASS-
00735
DOJ-CLASS-00736
through DOJ-
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DOJ-CLASS-00750
through DO.T-CLASS-
0075!
DOJ-CLASS-OO?SS

 

 

  
 
 
 
  
 
 
 
 
 
 
 
 
 
   
 
  
  
 
 
 
 
 
 
  
 
 
 
  

 

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through DOJ-CLASS-
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DOJ~CLASS-00784
through DOJ-CLASS-
00785
DOJ-CLASS-00786

 

DOJ~CLASS-OO?S?
through DO.l-CLASS-
00788
DOJ~CLASS-00792
through DOJ-CLASS-
00798

FBI 302 and any agent`s notes and attachments from a 6-27- DOJ~CLASS-G(MZO
2017 interview orAnne- C- through DoJ-CLASS-
00421

FBI 302 and any agent’s notes and attachments from a 6-27- DOJ-CLASS-00422 _H
2017 interview ofGary - H- through DOJ-CLASS-
00423 _1

    

 

 

 

 

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Memorandum to Acting Assistant Attomcy General,
National Security Division, United States Department of

 

ITEM BRIEF DESCRIPTION OF CLASSIFIED INFORMAT!ON OR AFF\LIATED
DOCUMEN'I‘ CLAssmEo BM'Es No.
44 FBI 302 and any agent’s notes and attachments from a FBl DOJ-CLASS-00424
__ ' 302 6-8-2017 interview of Paul Hignett
FBI 302 and any agent’s notes and attachments from a 6-27- DOJ-CLASS-00425
45. 2017 interview or Bradley l 11- rhrough DOJ-CLASS_
00426
46 FBI 302 and any agent’s notes and attachments from a 6-27- DOJ-CLASS-00427
' 2017 interview of Erice -§-_
FBI 302 and any agent’s notes and attachments from a 6-23- DOJ-CLASS-0043l
47. 2017 interview ofNathan P- through DOJ~CLASS-
00432
48 FBI 302 and any agent‘s notes and attachments from a 6-27- DOJ-CLASS-00433
' 2017 interview of Christoph”
FBI 302 and any agent’s notes and attachments from a 6-27- DOJ~CLASS-00442
49. 2017 interview of Coliecn - s_ through DoJ_CLAss-
00443 4
FBI 302 and any agent`s notes and attachments from a 7-13- DOJ~CLASS-00444
50. 2017 interview of Donald 2- through DOJ-CLASS-
00445
FBI 302 and any agent’s notes and attachments from a 6-29- DOJ-CLASS-00529
51. 2017 interview of Benjamin l R- through DOJ-CLASS-
00532
FBI 302 and any agent’s notes and attachments from a 6-20- DOJ-CLASS-00533
52. 2017 interview of Jacquelyn l. through DOJ-CLASS-
00534
FB1302 and any agent’s notes and attachments from a 6-2- DO.l-CLASS-OO§$$
53. 2017 interview of Paul Hignett through DOJ-CLASS-

00536
n/a

DOJ-CLASS-GOSOS

 

 

 

55' Justice Assistant Director, Criminal investigation Division,

Federal Bureau of Invest_igation

May 31, 2017 Letter from L. Ketnp Ensor lll DOJ-CLASS-00809
56. through DO.l-CLASS-

00810
DOJ-CLASS-OOS 1 1
through DOJ-CLASS-
00826

 

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n/a

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Testimony or information related to the Det`endant’s job
71. duties and responsibilities with Pluribus International
Coiporation.

Any classified information contained in Ms. Winner’s n/a
72. papers or electronic devices collected from her home and
workstation.

 

 

3 Items 73 through 168 are descriptions of discovery requested by the Def'endant in this case. At thc time of the
filing of this CIPA § 5 Notice, discovery is still outstanding, and the Court will likely rule on the Det`endant’s
motion to compel these discovery request.s. To avoid any potential waiver of the opportunity to utilize information
related to the Det'endant's discovery requests, those requests are noticed here as the Def`cndant reasonably expects to
disclose or to cause the disclosure of classified information received in response to these discovery requests

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. DocuMEer - CLAslelEI) BATES No.

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` Case 1:17-cr-00034-.]RH-BKE Document158-1 Filed 11/21/17 Page 13 of 27

 

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l Biur:r DsschP'rioN or CLASSiFlED INFoRMAnoN on AFFiLlATEi)
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CLAssmEo BATES No.
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ITEM BmEF DEsciurTloN or CLAsleiEn INFORMATION on AFFILlATED
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Case 1:17-cr-00034-.]RH-BKE Document158-1 Filed 11/21/17 Page 18 of 27

 

 

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. BRIEF DEsCleoN 01= CLAssiFrED INFORMAnoN on
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CLAsstFrEo BA'rEs No.

 

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nomierer

Any documents, communications supporting, undergirding,
relating to, or involving the allegations of harm as set forth
on p_age 4 of the Govemment’s October 5, 2017 response

AFi~'lLumn)
CLAssmED BATES No.
n/a

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BRIEF DESCR!PTION oF CLASSIFIED INFORMATION on
DocUMENr’

 

n/a
139.
n/a
140.
n/a
141.
n/a
142.
n/a
1431
Testimony or information regarding the number of n/a
144. individuals who currently hold a TOP SECRET clearance,
SECRE'I` clearance and CONFIDENTIAL clearance
n/a
145.
n/a

146.

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‘ n Docu Mln~rr2 CLAsstFrEo Bimts No.
n/a
147.
n/a
148.
The Facebook conversation dated February 14, 2017 (as n/a
149. reference in the Govemment’s November 6, 2017 amended
404 . letter .
n/a
1501
n/a

151.

Testimony or information regarding the incident referenced n/a
in the Govemment’s November 6, 2017 amended 404(b)

152' letter relating to the Defendant’s alleged “mishandling of
classified inforrnation” in or about Febru 2017.
n/a
153.
n/a
154.
n/a

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ITEM BR!EF DESCR!PTION OF CLASSIFIED lNl-`ORMA'I'!ON OR AFFILIATED
Docnivnal~t'rz CLAssmEn BArEs No.
156. 'l`he number of authorized users of JWICS. n/a
157, “/a
The total number of authorized users ofTESTFLIGHT, n/a
158. Library of National Intelligence, NEXT GENERAT[ON
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n/a
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160 n/a

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166.l “/a

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CLASlerEn BATES No.
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n/ a

Any information gathered in response to Rule 17 subpoenas n/a
issued to non-governmental organizations (e.g., Plurihus
lntemational).

 

172.

Any information gathered in response to state government n/a
FOIA reguests.

 

 

173.

Any news article provided to the Govemment in connection n/a
with a discovery request or referenced in a discovery
request.

 

 

 

 

The Defendant submits this ClPA § 5 Notice with full disclosure that this is a first in a

series of CIPA § 5 notices to be submitted to the Court and counsel to the Govemment

 

 

 

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Respectfully Submitted,

/S/Jo§Q. WhitleL

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Admitted Pro Hac Vice

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ATTORNEYS FOR DEFENDAN'I`
REAL!TY LEIGH WlNNER

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CERTIFICATE OF SERVlCE

l hereby certify that on November 21, 2017, I delivered the foregoing to the CISO, and
will send notification of such filing to counsel of record for all parties.

/s/Joe D. Whitle}/
.loe D. Whitley

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